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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

UNITED STATES                  *
                               *
   v.                          *      CRIM. NO. 20-161 (BRM)
                               *
GUY JACKSON                    *
                               *
                             *****
 ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING
            FOR FELONY PLEAS AND/OR SENTENCINGS

        In accordance with Standing Order 2020-06, this Court finds:

  ✔      That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

  ✔      That the proceeding(s) to be held today cannot be further delayed without serious harm

to the interests of justice, for the following specific reasons:


           See attached.


Accordingly, the proceeding(s) held on this date may be conducted by:
   ✔      Video Teleconferencing

          Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

                  The Defendant (or the Juvenile) is detained at a facility lacking video

        teleconferencing capability.

                  Other:




Date:    December 3, 2021
                                                                   Honorable Brian Martinotti
                                                                   United States District Judge
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                                 Attachment A
                         United States v. Guy Jackson


       The Court finds that the sentencing hearing to be held today cannot be
further delayed without serious harm to the interests of justice, for the
following additional reasons:
      1. To ensure that the Court is not overwhelmed by cases and
         proceedings at the conclusion of this period of emergency. Currently,
         District Judges in New Jersey handle a substantially larger docket of
         cases than Judges in other Districts in the United States. New
         criminal cases continue to be assigned by the Court during the
         emergency. If the Court cannot resolve matters by guilty plea and
         subsequent sentencing, the resulting backlog will overwhelm the
         Court’s ability to effectively function. The concern of such congestion
         and the particular harm that likely will be caused by delays in the
         processing of cases and matters in the future is particularly acute in
         this emergency, at least given that: (1) it is unknown when this
         emergency will subside and when the Court will be able to function at
         normal capacity (including, among other things, the empanelment of
         trial juries) and (2) this District’s pre-existing shortage of District
         Court Judges which already has challenged the Court’s ability to
         process and resolve cases.
      2. To permit the defendant to obtain a speedy resolution of his case
         through timely sentencing to afford appropriate punishment and
         rehabilitation. The defendant has asked for this case to be resolved
         today by sentencing. The Court is expected to have a substantial
         backlog of cases on its docket at the conclusion of this period of
         emergency. At this time, the Court cannot accurately predict where
         the defendant’s case will be prioritized within that backlogged
         docket. As a result, the defendant’s interest in a speedy resolution of
         his case will be seriously harmed if the proceeding does not occur
         today.
      3. To permit the Government to obtain a resolution of the case so that
         the Government, already operating in a restricted capacity due to the
         emergency, may appropriately focus its resources on other, emerging
         criminal matters. The Government has asked for this case to be
         resolved today by sentencing.




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